Case 2:05-cV-02110-.]DB-tmp Document 6 Filed 06/08/05 Page 1 of 2 Page|D 8

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UNITED STATES DISTRICT CUURT

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JAFARRIS MILLER, JUDGMENT IN A CIVIL CASE
Plaintiff,
V.
OFFICER G. ROBINSON, et al., CASE NO: 05-21]0-B
Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance With the Order Of Dismissal
entered on June 7, 2005, this cause is hereby dismissed Without prejudice.

AP' vED:

 

. D NIEL BREEN
UN ED STATES DISTRICT COURT

L ,8/, an/ E-S:EERT R. Dl TRSL§U
Date Clerk of Court

 

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This notice confirms a copy of the document docketed as number 6 in
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Jafarris Miller

SHELBY COUNTY JAIL
04133 502

201 Poplar Avenue
1\/1emphis7 TN 3 8103

Honorable J. Breen
US DISTRICT COURT

